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                  UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE

IN RE:

YELLOW CORPORATION, et al,                          Chapter 11
                                                    Case No. 2:23-11069-CTG

      Debtor.                                       U.S. Holland LLC, 23-11079
                                                    Claim No. 15390
                                                    Yellow Corporation, 23-11069
                                                    Claim No. 15389
                                                    YRC, Inc., 23-11087
                                                    Claim No. 15391

                                                    (Jointly Administered)


  JOINDER OF KEVIN COOK TO OBJECTIONS TO THE MOTION OF
  DEBTORS TO ESTABLISH ALTERNATIVE DISPUTE RESOLUTION
  PROCEDURES FOR THE RESOLUTION OF CERTAIN LITIGATION
               CLAIMS AND EQUITABLE RELIEF

      NOW COMES, Kevin Cook (“Objector”), by and through counsel, and

hereby submits this Joinder to the Objections already filed and to be filed (together,

the “Objection”), to the Motion of the Debtors to Establish Alternative Dispute

Resolution Procedures for Resolution of Certain Litigation Claims and for Related

Relief filed by Yellow Corporation, (Docket No.1329), (“Motion to Establish ADR

Procedures”), filed by the above-captioned Debtors. In support of this Objection,

Objector states as follows:



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      1.     On December 11, 2023, Debtors filed a Motion to Establish ADR

Procedures. See Docket No. 1329.

      2.     On December 26, 2023, December 27, 2023, January 3, 3024, January

8, 2024, multiple Objections and Joinders to the Objections were filed. See Docket

Nos. 1486, 1489, 1490, 19,492, 1554, 1581, 1582, 1583, 1585, 1632, and 1635.

      3.     It is expected that additional objections and joinders will be filed by

other similarly situated personal injury plaintiffs.



                                        JOINDER

      4.     Objector hereby joins and incorporates as his own the legal and factual

arguments made in the Objections.

      5.     Objector reserves the right to supplement or amend this Joinder, or raise

additional objections. Objector further reserves the right to participate in any hearing

on the Objections.


      WHEREFORE, Objector, Kevin Cook, respectfully requests that this Court

deny the Debtor’s Motion to Establish ADR Procedures until the ADR procedures

are modified to adequately address the concerns of Objector and other claimants and

that the Objector be awarded such further additional relief as deemed just.




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                                            Respectfully Submitted,

Dated: January 10, 2024                     /s/ Madeline M. Sinkovich
                                            Madeline M. Sinkovich P-82846 1
                                            MIKE MORSE LAW FIRM
                                            24901 Northwestern Highway, Suite 700
                                            Southfield, Michigan 48075
                                            Madeline.sinkovich@855mikewins.com
                                            (248) 621-2245




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 Claimant’s counsel is a Michigan attorney prosecuting claim litigation pursuant to Local Rule
9010-1(e)(iii).
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                                            YRC, Inc., 23-11087
                                                  Claim No. 15391

                                            (Jointly Administered)




                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 10th day of January 2024, I served the
following paper: “Joinder of Kevin Cook to Objections To the Motion of Debtors
to Establish Alternative Dispute Resolution Procedures for Resolution of Certain
Litigation Claims and Equitable Relief” to the Court Clerk.


Date: January 10, 2024                /s/ Madeline M. Sinkovich
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                                      Southfield, Michigan 48075
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